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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 13-679V
                                          (Not to be published)

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                            *
GARY S. ROTH,               *
                            *                                             Filed: December 30, 2015
                Petitioner, *
                            *                                             Decision by Stipulation; Attorney’s
           v.               *                                             Fees & Costs
                            *
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*****************************

Peter M. Young, Habush, Habush & Rottier, S.C., Wausau, WI, for Petitioner

Traci R. Patton, U.S. Dep’t of Justice, Washington, DC, for Respondent

                            ATTORNEY’S FEES AND COSTS DECISION1

        On September 13, 2013, Gary Roth filed a petition seeking compensation under the
National Vaccine Injury Compensation Program. On July 2, 2015, the parties filed a stipulation
detailing an amount to be awarded to Petitioner. I subsequently issued a decision finding the
parties’ stipulation to be reasonable and granting Petitioner the award outlined by the stipulation.

       On December 23, 2015, counsel for both parties filed another joint stipulation, this time in
regards to attorney’s fees and costs. The parties have stipulated that Petitioner’s counsel should
receive a lump sum of $82,000.00, in the form of a check payable to Petitioner and Petitioner’s
counsel. This amount represents a sum to which Respondent does not object. In addition, and in

1
  Because this decision contains a reasoned explanation for my action in this case, I will post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, § 205, 116 Stat. 2899, 2913 (Dec. 17, 2002) (current version at 44 U.S.C. § 3501 (2014)). As provided by 42
U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the posted decision’s inclusion of certain kinds of
confidential information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request
redaction “of any information furnished by that party: (1) that is a trade secret or commercial or financial in substance
and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be
available to the public. (Id.)
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compliance with General Order No. 9, Petitioner has represented that he did not incur any
reimbursable costs in proceeding on this petition.

        I approve the requested amount for attorney’s fees and costs as reasonable. Accordingly,
an award should be made in the form of a check in the amount of $82,000.00 payable jointly to
Petitioner and Habush Habush & Rottier Client Trust Account. In the absence of a motion for
review filed pursuant to RCFC Appendix B, the clerk of the court SHALL ENTER JUDGMENT
in accordance with the terms of the parties’ stipulation.2


         IT IS SO ORDERED.
                                                                     /s/ Brian H. Corcoran
                                                                        Brian H. Corcoran
                                                                        Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing their
right to seek review.
